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 DOWD, J.

                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION




 United States of America                         )
                                                  )     CASE NO. 1:04CR278-004
                  Plaintiff(s),                   )
                                                  )
           v.                                     )     ORDER
                                                  )
 Jose L. Montanez                                 )
                                                  )
                  Defendant(s).                   )
                                                  )




                  A hearing was conducted on June 2, 2009, regarding a petition submitted by the

 United States Probation Office regarding a violation of the defendant of the terms and conditions

 of supervised release. The defendant Jose L. Montanez and his counsel, Caroline Kucharski

 appeared. A report and recommendation was filed on May 15, 2009 (see docket # 118). The

 Court adopts the report and recommendation of Magistrate Judge James S. Gallas and finds the

 defendant in violation of his terms and conditions of supervised release as stated in the Violation

 Report.

           IT IS ORDERED that the defendant be committed to the custody of the Bureau of

 Prisons for a period of six (6) months to run concurrent with the state sentence the defendant is

 currently serving.
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 (1:04CR278-004)




        IT IS FURTHER ORDERED that upon release from confinement the period of

 supervised release will continue. All conditions of supervised release previously imposed will

 continue.




  June 4, 2009                                 /s/ David D. Dowd, Jr.
 Date                                        David D. Dowd, Jr.
                                             U.S. District Judge
